            Case 3:20-cr-10017-WQH Document 21 Filed 11/05/20 PageID.30 Page 1 of 2
                                           '
'.<\o 245D (CASD Rev. 1/19) Judgment in a Criminal Case for Revocations


                                    UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF CALIFORNIA
             UNITED STATES OF AMERICA                                JUDGMENT IN A CRIMINAL CASE
                                                                     (For Revocation of Probation or Supervised Release)
                               V.                                    (For Offenses Committed On or After November I, 1987)
            CONSTANTINO LOPEZ-LEON (I)
                                                                        CaseNumber:         3:20-CR-10017-WQH

                                                                     BrianPFunk
                                                                     Defendant's Attorney
REGISTRATION NO.               27893-179
•·                                                                                                        FILED
THE DEFENDANT:
~ admitted guilt to violation ofallegation(s) No.
                                                                                                           NOV 0 5 2020
                                                            I
                                                                                                      (:LERK. U) C )P,1CT CH,R_1

 D   was fouod guilty in violation ofallegation(s) No.                                            §? 'ii¥1~i! 'ailNif1' iil~u1It'0 ft~~
                                                                                                                                    ,)
Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number                   Nature of Violation

               I                    nv35, Illegal entry into the United States




      Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
 The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments. imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant's economic circumstances.
            Case 3:20-cr-10017-WQH Document 21 Filed 11/05/20 PageID.31 Page 2 of 2
AO 245D (CASD Rev. 01/19) Judgment in a Criminal Case for Revocations

DEFENDANT:                CONSTANTINO LOPEZ-LEON (1)                                               Judgment - Page 2 of 2
CASE NUMBER:              3:20-CR-10017-WQH

                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 Eight (8) months to run consecutively to case ]9cr4350-WQH and to run consecutively to case 12cr3395-BEN




 •     Sentence imposed pursuant to Title 8 USC Section I 326(b).
 •     The conrt makes the following recommendations to the Bureau of Prisons:




 •     The defendant is remanded to the custody of the United States Marshal.

 •     The defendant shall surrender to the United States Marshal for this district:

       •     at                             A.M.               on

       •     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 •     Prisons:
        D     on or before
       •      as notified by the United States Marshal.
       •      as notified by the Probation or Pretrial Services Office.

                                                        RETURN
 I have executed this judgment as follows:

        Defendant delivered on
                                 -------------                            to

  at
       ------------ ,                        with a certified copy of this judgment.


                                                                    UNITED STATES MARSHAL



                                      By                    DEPUTY UNITED STATES MARSHAL




                                                                                                  3:20-CR-10017-WQH
